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Attorneys for Defendant Apple Inc.

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA, et al.,

                       Plaintiffs,                    Civil Action No. 2:24-cv-04055
                                                                (JXN-LDW)
                       v.

APPLE INC.,
                       Defendant.


               REQUEST BY LOCAL COUNSEL FOR PRO HAC VICE
              ATTORNEY TO RECEIVE ELECTRONIC NOTIFICATION

        Request is hereby made by local counsel for pro hac vice counsel, Luke P. McGuire, to
receive electronic notification in the within matter, and it is represented that:

       1.     An Order of the Court granting a motion for Luke P. McGuire to appear pro hac
              vice in the within matter was entered on June 10, 2024; and

       2.     The Admission Fee, in the amount of $250.00, pursuant to L. Civ. R. 101.1(c)(3),
              has been paid to the Clerk of the Court.

Dated: June 12, 2024                              s/Liza M. Walsh
                                                  Liza M. Walsh
                                                  Douglas E. Arpert
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